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The Hon. Thornas S. Zilly

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
` AT SEATTLE

TRACY HARDYAL, FRANK LOPA,

Plaintiffs,

VS.

U.S. BANK NATIONAL ASSOCIATION,

as Successor Trustee to Bank of America,
N.A. as Successor to LaSalle Bank, N.A. as
Trustee for Certiflcate Holders Of Washington
Mutual Mortgage Pass-Through Certiflcates
WMALT Series 2007-3 Trust; unknown DOE
defendants 1 through 50 claiming an interest
in subject property,

 

Defendants.

PLAINTIFFS’ SUPPLEMENTAL BRIEF REGARDING
POSSIBLE REVOCATION OF ACCELERATION - i
(Case N0. 2:17-01416 TSZ)

Case No.: 2117-01416 TSZ

PLAINTIFFS’ SUPPLEMENTAL BRIEF
REGARDING POSSIBLE
REVOCATION OF ACCELERATION

NOTED 0N MOTION CALENDAR;
Ju1y 6, 2013

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This brief responds to the Court’s request June 27, 2018 Minute Order requesting
supplemental briefing on Whether the 2008 acceleration by GreenTree l\/Iortgage Funding,
lnc. (“GreenTree”), U.S. Bank’s predecessor, of the Plaintiffs’ loan obligation Was later
abandoned or Waived.1 Under the circumstances of this case, the Court should conclude that
the acceleration Was never abandoned, Waived, or revoked, and that summary judgment
should be entered in Plaintiffs’ favor, quieting title in their real property located at l29-2lst
Avenue in Seattle against any right, title or interest in"the property claimed by U.S. Bank.

A. The 2008 Acceleration Was Never Abandoned, Waived, or Revoked.

Although legal authority is scant, Washington courts have recognized that a creditor’s
acceleration of a borrower’s installment obligation can be abandoned or Waived. ln Equl`table
Ll`fe Leasl'ng Corp. v. Cedarbrook lnc., 52 Wn. App. 497, 76l P.2d 77 (1988), an equipment
lessee fell behind on its monthly payments The lessor notified the lessee by letter that the
lease payments Were accelerated Thereafter, the lessor sent monthly billings to the lessee
and accepted monthly lease and late charge payments For several months, the lessee
continued to be in default of its obligations The lessor notified the lessee by telephone that
unless the October and November payments Were received by November 28, 1983, it Would
repossess the equipment The lessee’s payments for October and November Were received on
about December l, 1983, leaving due on the account only $9l in late charges Within days of

the lessee delivering these payments to the lessor, the lessor repossessed the equipment. The

 

1 When discussing acceleration of an installment debt, the terms “abandonment,” “waiver” “deceleration” and
“revocation” all refer to the situation Where a lender has accelerated the debt but subsequently chooses toireturn
to the situation Where the entire balance is not due and periodic payments are due on the original loan terms
Aya[a v. Carrington Alortgage Services, LLC, No. CV-l6-02156-PHX-ROS, 2017 WL 6884299, at *2 (D. Ariz.
Oct. 30, 2017); see also Restatement (3d) of Property (Mortgages) § 8.1 (l997) cmt. e (“[A] court may relieve a
mortgagor from the consequences of acceleration and permit reinstatement of the mortgage by payment of

arrearages where it determines that the mortgagee Waived its right to accelerate.”).
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lessor sued the lessee for a deficiency judgment, and the lessee counterclaimed for wrongful
repossession On the lessee’s motion for summary judgment, the trial court ruled that the
lessor had abandoned its acceleration by continuing to send monthly billing statements and

accepting monthly payments after the acceleration The court entered an order holding that

the repossession was wrongful.

On appeal, the lessor argued that there was an issue of fact about whether it had

abandoned its prior acceleration The court rejected this argument:

[l]n [lessor’s] answer to interrogatories Equitable stated that only $91
in late fees was owed on the date of repossession This admitted fact
eliminates any need to consider whether the rental payments had been
accelerated or the attempted acceleration waived The undisputed facts
support the conclusion that Equitable waived the acceleration by
issuing monthly billings and accepting monthly payments and late
charges after the notice of acceleration and by making a subsequent
statement to [lessee] Cedarbrook; that it would not repossess the
equipment if the October and November payments were made by
Nbvember 28, l983. A lessor cannot notify its lessee that the lease
payments are accelerated and then issue monthly billings and accept
monthly payments and late charges These acts are inconsistent with

acceleration.

Id. at 501-02. The Court of Appeals affirmed the trial court’s ruling that the lessor had
waived its prior acceleration

Equl`table Lz`fe Leasing Corp. has not been cited in any published or reported cases for
its holding regarding the lessor’s abandonment of its acceleration, and only two other
published or reported Washington cases discuss whether a creditor may abandon a prior
acceleration of an installment debt. ln Washz`ngton Fed. v. Azure Chelan LLC, l95 Wn. App.
644, 382 P.3d 20 (2016), Washington Federal, the successor to a junior lienholder, brought a
quiet title action against Azure Chelan LLC (“Azure”), a senior Deed of Trust holder, after

Washington F ederal foreclosed on its deed of trust and acquired title to the property.

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Washington F ederal argued that more than six years had passed since AZure had accelerated
the debt secured by its deed of trust, that it was barred by RCW 4.16.040’s six-year statute of
limitations from enforcing its Note, and that Washington Federal was entitled to an order
quieting title in the property as to Azure’s claim of interest. The trial court agreed and
quieted Washington Federal’s interest in the property against Azure’s claim. Id. at 651, 664.

l On appeal, Azure argued that if it had accelerated the installment debt secured by the
property, it had abandoned the acceleration, negating the six~year limitations period Azure
argued that “chose to accept the actions, assurances and other commitments of [original
borrower] LHDDlrather than initiate foreclosure”, and “in each event [of default] Azure
elected to accept verbal assurances from LHDDl as supporting a cure or excuse of those
events of default.” Id. at 664. The Court of Appeals rejected Azure’s argument, stating that
these statements did not say “what the ‘action, assurances, and other commitments’ actually
were, and that they were therefore “merely a summary or conclusion of fact not sufficient
to Withstand summary judgment.” Id. (Citation omitted). The trial court’s summary judgment
order was affirmed

ln Kirsch v. CranberryFir/ancz`al, LLC, 178 Wn. App. 1031, 2013 WL 6835195 (Dec.
23, 2013) (unpublished), a creditor filed a complaint in 2004 to collect on a promissory note
and personal guaranty. The complaint contained an express notice of the creditor’s intent to
accelerate the balance of the note. After five years of inactivity in the case, in 2009 the court
clerk dismissed the case.

In 2012, the note guarantor filed an action against Cranberry Financial, LLC, the prior
plaintiffs successor, seeking to quiet title to the property he had pledged to secure the

original debt, on the ground that the six-year statute of limitations barred enforcement of the

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note and guaranty. The trial court granted the collection agency’s motion for summary
judgment, ruling that the clerk’s dismissal of the first lawsuit effected an abandonment of the
acceleration 2013 WL 6835195 at *2-4. On appeal, the Court of Appeals reversed the trial
court, ruling that the dismissal of the first lawsuit had no effect on the creditor’s acceleration
of the debt. The court ruled that the six-year statute of limitations had run, and the collection
agency was barred from collecting any part of the remaining note balance. Id. at *7.

While none of these Washington cases provide firm guidelines for when a creditor
should be deemed to have abandoned a prior acceleration of an installment debt, courts in
other jurisdictions have provided guidance that should direct this Court.

ln Steinberger v. IndyMac Mortg. Servs., No. CV-15-00450-PHX-ROS, 2017 604003
(D. Ariz. Jan. 12, 2017), a borrower sought a declaratory judgment that the creditor Was
barred by Arizona’s statute of limitations from obtaining judgment on an installment debt
that had been previously accelerated and from foreclosing on the real property securing the
debt. After the creditor’s acceleration of the debt, the creditor forwarded a letter to the
borrower, informing her that the loan was “in serious default”; that the borrower had the right
to cure the default by paying the past-due amounts; and that if she did not cure the default,
the creditor “may accelerate [the] mortgage,” with the result that the full amount owed on the
note would be “due and payable.’ Ia’. at *13. The court determined that this letter constituted
a revocation of the prior acceleration and granted the creditor’s motion for summary
judgment, holding that the creditor Was not barred from obtaining judgment on the debt or
from foreclosing on the property. Ia'. The court enunciated what a creditor must do to revoke
or abandon an acceleration of an installment debt:

[R]evocation of acceleration may occur when a lender commits an

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affirmative act to revoke acceleration As for the type of affirmative act
necessary, Arizona law does provide acceleration of a debt requires an
affirmative act that “make[sj clear to the debtor it has accelerated the
obligations.” (Citation omitted). Sensibly, that same requirement should
apply to revocation of acceleration That is, revocation of acceleration
occurs when a lender takes an affirmative act that places the borrower
on actual or constructive notice of the revocation

Id. at *12.

The Steinberger court relied extensively for its ruling on Wood v. Fz`tz-Simmons, No.
2 CA-C'V 2008-0041, 2009 WL 580784 (Ariz. Ct. App. Mar. 6, 2009) (unpublished). In
Wood, a creditor had filed a lawsuit to collect on a promissory note obligation and
accelerated the entire debt due in the complaint Following the commencement of the suit,
the creditor accepted partial payments on the debt, and the lawsuit was dismissed by the court
clerk for want of prosecution When the creditor filed a second lawsuit, the borrower argued
that more than six years had passed since the acceleration in the first lawsuit and therefore,
the creditor was barred from recovering The creditor argued that it had abandoned the
acceleration by accepting partial payments and allowing the first lawsuit to be dismissed The
court ruled that abandonment of a prior acceleration requires an “affirmative act” by the
creditor, and acceptance of partial payments and dismissal of the first lawsuit were not such
affirmative acts ]d. at 3. The court held that the debt was extinguished by the statute of
limitations Id.; accord, Lavl`n v. Elmakl`ss, 302 A.D.2d 638, 639, 754 N.Y.S.2d 741 (2003)
(mortgagee’s “mere acceptance” of mortgage payments following notice of acceleration “is
not inconsistent with [its] insistence that the entire debt immediately be paid [and] does
not constitute proof of an affirmative act of revocation” of acceleration).

ln Cadle C0. 11 v. Fozmtain, No. 49488, 281 P.3d 1158 (Table), 2009 WL 1470032

(Nev. Feb. 4, 2009), the Nevada Supreme Court affirmed the trial court’s summary judgment

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order barring a creditor from collecting on a promissory note and foreclosing on the real
property pledged as security for the debt, holding that the creditor’s action was barred by the
statute of limitations The creditor argued that the voluntary dismissal of its prior action to
recover on the debt ~ which would not have been barred by the statute of limitations - was a
valid abandonment of its acceleration of the debt. The Nevada Supreme Court disagreed,
holding that a creditor must clearly communicate to the borrower the intent to revoke a prior
acceleration, which the creditor had not done:

Because an affirmative act is necessary to accelerate a mortgage, the

same is needed to decelerate. Accordingly, a deceleration, when

appropriate, must be clearly communicated by the lender/holder of the

note to the obligor. Here, if [creditor] CIT intended to revoke the

acceleration of the debt due under the note, it should have done so in a

writing documenting the changed status The voluntary dismissal did

not decelerate the mortgage because it was not accompanied by a clear
and unequivocal act memorializing that deceleration.

]a'. at *l.

Finally, New York cases discuss what is required for a lender to revoke a prior
acceleration of an installment debt. ln Citimortgage, Inc. v. Ramz`rez, 59 Misc.3d 1212(A),
2018 WL 1749899 (Table) (N.Y. Sup. Ct. 2018), the court discussed a five-prong test for
determining whether a creditor has abandoned the acceleration of an installment debt:

(1) the revocation must be evidenced by an affirmative act; (2) the
affirmative act must be clear and unequivocal; (3) the affirmative act
must give actual notice to the borrower that the acceleration has been
revoked; (4) the affirmative act must occur before the expiration of the

six-year statute of limitations per'iod; and (5) the borrower must not
have changed his or her position in reliance on the acceleration2

 

2Accord, EMC Morlg. Corp. v. Pate[[a, 279 A.D.2d 604, 605-06, 720 N.Y.S.2d 161 (2001) (dismissal ofprior
foreclosure action by court did not constitute affirmative act by lender revoking its election to accelerate); U.S.
BankN.A. v. Croclcett, 55 Misc.3d 1222(A); 61 N.Y.S.3d 193 (N.Y. Sup. Ct. 2017) (“After the mortgage debt
has been accelerated, the acceleration may only ‘be revoked through an affirmative act occurring Within the
limitations period.’ (Citation omitted). The revocation should be clear, unequivocal, and give actual notice to

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Applying these principles to this case, in order for GreenTree or US. Bank to have
revoked or abandoned the February 2008 acceleration, either of them was required to
affirmatively, clearly and unequivocally provide notice to the Plaintiffs that the acceleration
was abandoned and/or revoked In addition to having failed to argue in its opposition to
Plaintiffs’ motion for summary judgment that the February 2008 acceleration of Plaintiffs’
loan obligation was abandoned waived or revoked, U.S. Bank has failed to submit any
evidence in support of the conclusion that it abandoned waived or revoked the acceleration,
or that it provided actual or constructive notice to the Plaintiffs of such abandonment, waiver,
or revocation There is nothing in the record that supports such a conclusion

With respect to the August 2008 Forbearance Agreement, the mere fact that the
Plaintiffs entered into the Agreement does not raise a genuine issue of material fact about
whether the acceleration Was revoked or abandoned There is no mention of c‘acceleration” in
the Agreement, and it is silent concerning whether the execution of the Agreement
constitutes a revocation or abandonment of the acceleration The Agreement itself warned
that the Plaintiffs’ failure to comply with all required payment provisions would result in the
termination of the Agreement without notice, and that the foreclosure in progress would
resume. Forbear'ance Agreement, 11 7; see also 119 (cr'editor’s acceptance of payments
pursuant to the Agreement was not to be construed as a waiver of any rights creditor had
under the then-pending foreclosure proceeding, and “shall not prevent or delay the sale of the
mortgaged premises in the event of a default”), 11 13 (Forbearance Agreement did not

discontinue existing foreclosure proceeding, and failure of Plaintiffs to make payments

 

the borrower of the lender’s election to revoke in sum, akin to the manner plaintiff gave notice to exercise the

option to accelerate. (Citation omitted)”).
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required by Agreement would “result in the foreclosure proceeding being resumed from the
appropriate stage”); 11 14 (Plaintiffs waived any further notice of default under the mortgage
or Forbearance Agreement and authorized creditor to resume foreclosure proceedings to
resume in the event of a default without notice to Plaintiffs). lndeed, the Agreement
explicitly informed the Plaintiffs that nothing in the Agreement should be construed as a
waiver or estoppel of “any of GreenPoint’s rights under the Note and Mortgage or in
connection with the foreclosure action.” Thus, rather than abandoning or revoking the prior
acceleration of the Plaintiffs’ loan obligation, the Forbearance Agreement specifically
provides that it shall not be deemed to be an abandonment, waiver or revocation of
Green'l`ree’s pre-existing rights, including the right to pursue foreclosure based on the prior
acceleration of the Plaintiffs’ loan, and that GreenTree retained all of those rights until
Plaintiffs complied with all provisions of the Agreement, including timely making all
payments required by it. Forbearance Agreement, 11 4. By the express terms of the
Forbearance Agreement, because the Plaintiffs failed to make the payments required by it,v
the Agreement was immediately terminated and of no effect, GreenTree retained all of the
rights it had prior to Plaintiffs’ execution of the Agreement (including the rights attendant to
having declared an acceleration of the installment debt), and the parties’ relationship reverted
to the pre-Forbearance Agreement status In short, the fact that the parties entered into the
Forbearance Agreement did not constitute GreenTree’s abandonment, waiver, or revocation
of its February 2008 acceleration of the Plaintiffs’ installment debt. Further, no subsequent
conduct by GreenTree or U.S. Bank exhibited any required affirmative act to constitute an
abandonment, waiver, or revocation of the debt.

B. The Court Can Rule on Summary Judgment Whether the 2008 Acceleration was

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Abandoned, Waived, or Revoked.

The Court also requested briefing on whether it can rule as a matter of law if
Gr'een'l`ree or U.S. Bank abandoned, waived or revoked the February 2008 acceleration The
Court can rule, as a matter of law, that there was no abandonment, waiver, or revocation

Summary judgment is appropriate where there is an absence of evidence submitted by
the non-moving party sufficient to create a genuine issue of material fact. Adickes v. S.H.
Kress & Co., 398 U.S. 144, 159, 90 S.Ct. 1598 (1970). Here, not only has U.S. Bank not
argued there was an abandonment, waiver, or revocation of the February 2008 acceleration, it
submitted no evidence for its opposition to the motion for summary judgment that raises a
genuine issue of material fact that there was such an abandonment, waiver or revocation
Thus, the Court may rule as a matter of law that there Was no abandonment, waiver, or
revocation

Several courts have ruled in cases similar to this that, as a matter of law, there was no
waiver, abandonment, or revocation of a prior acceleration of an installment debt. In 1
quliml)le Lz`fe Leasi)ig Corp., the trial court’S ruling on summary judgment that the lender
had waived the prior acceleration of the debt was affirmed on appeal. 52 Wn. App. at 501-02.
ln Azure Chelan LLC, the trial court’s decision on summary judgment that there had been no
abandonment was affirmed on appeal. 195 Wn. App. at 664. And Kz`rsch was also resolved
on summary judgment; while the trial court ruled as a matter of law that the lender had
abandoned acceleration when the first foreclosure lawsuit was dismissed, the Court of

Appeals reversed and determined as a matter of law that there had been no abandonment

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Therefore, if there is no genuine issue of material fact about whether the lender
abandoned waived or revoked its acceleration of a borrower’s installment debt, a court is
authorized to determine there was no such abandonment on summary judgment, as a matter
of law. Here, there are no genuine issues of material about whether GreenTree or U.S. Bank
abandoned waived or revoked GreenTree’s acceleration of the Plaintiffs’ installment debt -
they did not - and accordingly, the Court can rule on'summary judgment that there was no
such abandonment, waiver, or revocation, as a matter of law.

C. If the Acceleration Was Waived, the Debt Would be Enforceable, Except for
Installment Payments that Accrued Six Years Before the Commencement of the

Case.

lf the Court concludes that an abandonment, waiver or revocation occurred in this
case, the installment debt will not be deemed to have been accelerated for purposes of the
six-year statute of limitations on the entire/debt. U.S. Bank will not be permitted to recover
the monthly installment payments that were due more than six years prior to the time this
action was filed accounting for periods when the statute of limitations was tolled Herzog v.
Herzog, 23 Wn2d 382, 387-88, 161 P.2d 142 (1945). However, the Court should conclude
that there are no genuine issues of material fact concerning whether GreenTree or U.S. Bank
abandoned waived or revoked the February 2008 acceleration, and that Plaintiffs are
entitled to summary judgment in their favor that U.S. Bank is barred from recovering on the

Note and to an order quieting title to their real property against U.S. Bank’s claim.

 

3 See also Srez'nberger, 2017 WL 6040003, at *11-12 (trial court ruled as a matter of law on summary judgment
that lender revoked its prior acceleration of debt); Wood, 2009 WL 580784, at *4 (trial court’s summary
judgment order that there had been no abandonment of the prior acceleration affirmed on appeal); Lavin, 302
A.2d at 639 (same); Cad[e Co. ]], lnc., 2009 WL 1470032, at *1-2 (same); Ramz'rez, 59 Misc.3d 1212(A), at *4-

6 (trial court held on summary judgment that lender had not abandoned acceleration).
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DATED THlS 6th day of July, 2018.

PLAINTIFFS’ SUPPLEMENTAL BRIEF REGARDING
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